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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
            Plaintiff,                       )
                                             )
      v.                                     )     No. 4:06-CR-337 (CEJ)
                                             )
PENELOPE ANN TUCKER,                         )
                                             )
            Defendant.                       )

                          MEMORANDUM AND ORDER

      Pursuant to 28 U.S.C. § 636(b), the Court referred all pretrial matters

in this case to United States Magistrate Judge Mary Ann L. Medler for

determination and recommended disposition, where appropriate.                 On

December 11, 2007, and on December 16, 2008, Judge Medler issued

Reports and Recommendations in which she recommended that the motions

for severance filed by defendant Penelope Ann Tucker be denied.              The

defendant filed timely objections.

      Pursuant to 28 U.S.C. § 636(b)(1), the Court is required to make a de

novo determination of the portions of a magistrate judge’s report and the

specified findings or recommendations as to which objection is made. Here,

Tucker has not objected to any specific portion of either Report and

Recommendation nor has she objected to any specific factual findings or legal

conclusions made by the magistrate judge. Upon review, the Court finds no

error in those findings and conclusions.
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     Accordingly,

     IT IS HEREBY ORDERED that the Reports and Recommendations of

United States Magistrate Judge Mary Ann L. Medler with respect to the

motions for severance filed by defendant Penelope Ann Tucker are sustained,

adopted, and incorporated herein.

     IT IS FURTHER ORDERED that the motions of defendant Penelope

Ann Tucker for severance of trial from co-defendants [Doc. 477] and to sever

counts [Doc. 827] are denied.




                                    CAROL E. JACKSON
                                    UNITED STATES DISTRICT JUDGE



Dated this 17th day of March, 2009.




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